Filed 10/08/19                          Case 19-21640                               Doc 134



                               UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF CALIFORNIA
                                        CIVIL MINUTES
            _____________________________________________________________________
            Case Title: Debora Leigh Miller-      Case No.: 19-21640 - B - 11
            Zuranich
                                                  Docket Control No. PLC-7
                                                  Date: 10/08/2019
                                                  Time: 2:00 PM

            Matter: [110] - Motion/Application to Employ Stanley Cornelius as
            Realtor(s) [PLC-7] Filed by Debtor Debora Leigh Miller-Zuranich
            (mfrs)

            Judge: Christopher D. Jaime
            Courtroom Deputy: Danielle Mobley
            Reporter: Electronic Record
            Department: B
            _____________________________________________________________________
            APPEARANCES for:
            Movant(s):
            Debtor's Attorney - Lauro Faliceano
            Respondent(s):
            (by phone) Creditor's Attorney - Dean T. Kirby Jr.; Creditor's
           Attorney - Jonathan C. Cahill
            _____________________________________________________________________
                                        CIVIL MINUTES


           Motion Denied
           Findings of fact and conclusions of law stated orally on the record
                 The court will issue an order.
